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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-04709-RSWL-KSx                                               Date   July 30, 2020
 Title             Anthony Bouyer v. Kadima Investments LLC et al



 Present: The Honorable          RONALD S.W. LEW, Senior, U.S. District Court Judge
                Joseph Remigio                               Not Present                                   n/a
                 Deputy Clerk                         Court Reporter / Recorder                      Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                          Not Present                                                  Not Present
 Proceedings:                 IN CHAMBERS - ORDER TO SHOW CAUSE WHY THIS CASE
                              SHOULD NOT BE DISMISSED FOR LACK OF PROSECUTION

        It is the responsibility of plaintiff to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If necessary,
plaintiff(s) must also pursue Rule 55 remedies promptly upon default of any defendant. All stipulations
affecting the progress of the case must be approved by the Court, Local Rule 7-1.

        The file in this case lacks the papers that would show it is being timely prosecuted, as reflected
below. Accordingly, the Court, on its own motion, hereby orders plaintiff (s) to show cause in writing
no later than August 2, 2020, why this action should not be dismissed for lack of prosecution.

          As an alternative to a written response by plaintiff(s), the Court will accept one of the following,
if it is filed on or before the above date, as evidence that the matter is being prosecuted diligently.

         •          PLAINTIFF’S FILING OF A MOTION FOR DEFAULT JUDGMENT or
                    REQUEST FOR DISMISSAL for all defaulting defendants.

         No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of a response or motion on or before the date upon which a response by
plaintiff(s) is due. Failure to timely respond to this order may result in sanctions and/or the dismissal of
this action.

         Plaintiff shall serve a copy of this order upon all defendants who have been served with the
Summons and Complaint but have yet to appear in this action. Failure to comply with this order will
result in the dismissal of this action without further warning.
                                                                                                       :          00

                                                                Initials of Preparer                 JRE




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